
50 So.3d 792 (2010)
Ebony BLAKE, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-3611.
District Court of Appeal of Florida, Fifth District.
December 30, 2010.
*793 F. Wesley Blankner, Jr., of Jaeger &amp; Blankner, Orlando, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Pamela J. Koller, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Nguyen v. State, 858 So.2d 1259 (Fla. 1st DCA 2003) (holding deadly weapon, within meaning of aggravated battery statute, includes any instrument likely to cause great bodily harm because of way it is used during crime).
GRIFFIN, ORFINGER and LAWSON, JJ., concur.
